Case 9:19-cv-81179-RAR Document 55-1 Entered on FLSD Docket 04/12/2021 Page 1 of 4




                EXHIBIT
                  A
Case 9:19-cv-81179-RAR Document 55-1 Entered on FLSD Docket 04/12/2021 Page 2 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   ILLOOMINATE MEDIA, INC., et al.           )
                                             )     Case No. 19-cv-81179-RAR
                                             )
         Plaintiffs,                         )
                                             )
   v.                                        )
                                             )
   CAIR FOUNDATION, INC., et al.             )
                                             )
                                             )
                                             )
         Defendants.                         )
   ______________________________________________________________________________


        CAIR FOUNDATION, INC. AND CAIR FLORIDA, INC.’S JOINT OFFER OF
                                JUDGMENT

          CAIR Foundation, Inc., and CAIR-Florida, Inc., based on Florida Rule 1.442 and Florida

   Statutes § 768.79 (2019), make a joint offer of settlement to Plaintiffs Laura Loomer and Illoominate

   Media, Inc. Currently, Plaintiffs bring causes of action against CAIR Foundation for Tortious

   Interference with Advantageous Business Relationship, Unlawful Agreement in Restraint of Trade,

   Civil Conspiracy, and the Florida Deceptive and Unfair Trade Practices Act.

          The proposal resolves all damages that would otherwise be awarded in a final judgment in the

   action in which the proposal is served. Fla. R. Civ. P. 1.442(c)(2)(B). The Offer relates to all claims,

   specifically all Counts 1-5 in the Amended Complaint. The amount offered to settle all claims in this

   matter is $0.50 each from each Defendant, for a total amount of $1. The judgment would be paid by

   each Defendant split equally ($0.50 from each Defendant total, or $0.25 from each Defendant to each

   Plaintiff). Punitive damages are not currently sought but the right to seek them is purportedly reserved

   in the Amended Complaint. To the extent that punitive damages are implicated, no amount of this

   Offer is specifically set aside for the settlement of any claim for punitive damages. Within the total


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Case 9:19-cv-81179-RAR Document 55-1 Entered on FLSD Docket 04/12/2021 Page 3 of 4



   Offer amount stated, it includes any costs and attorney’s fees attorneys’ fees, which are sought or by

   which Plaintiffs are or may be entitled, by the current Amended Complaint. There is no nonmonetary

   component of this offer of judgment and specifically does not include any of the requested injunctive

   relief. There are no relevant conditions other than that accepting this judgment will be deemed a final

   resolution of all the claims in this case against CAIR Foundation and CAIR-Florida, requiring a

   stipulation of dismissal. Each offeree may independently decide whether to accept this joint offer.

   Attorneys’ Title Ins. Fund, Inc. v. Gorka, 36 So. 3d 646, 650 (Fla. 2010)

           If the offer is not accepted within 30 days, and the final judgment is $0.37 or less per plaintiff,

   for a total of less than $0.75, both parties will be entitled to “reasonable costs, including investigative

   expenses, and attorney’s fees, calculated in accordance with the guidelines promulgated by the

   Supreme Court, incurred from the date the offer was served.”

           This offer applies to this action regardless of whether it remains in federal court or is remanded

   back to state court. The provisions of Florida Rule of Judicial Administration 2.514(b) do not apply

   to this Offer. No oral communications shall constitute an acceptance, rejection, or counteroffer to

   this proposal.



   Dated: October 2, 2019

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Case 9:19-cv-81179-RAR Document 55-1 Entered on FLSD Docket 04/12/2021 Page 4 of 4



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                                                          /s/ Lena F. Masri
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                                                          *Pro hac vice motions forthcoming

                                                          Attorneys for CAIR Foundation, Inc.



                                          Certificate of Service
           I certify that a copy hereof has been furnished to Steven W. Teppler, counsel for Plaintiffs by
   e-mail (steppler@lawfirm.ms) and mailed to 11891 US Highway One, Suite 100
   North Palm Beach, FL 33408 on October 2, 2019. I further certify a copy has been furnished to Ron
   Coleman (rcoleman@lawfirm.ms) and Lauren X. Topelsohn (LTopelsohn@lawfirm.ms), via email
   only who represented Plaintiffs in State Court, also on October 2, 2019.


                                                          By: /s/Darren Spielman
                                                          Darren Spielman (FL Bar 010868)




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